19-36300-cgm           Doc 593       Filed 12/16/19 Entered 12/16/19 11:35:57                      Main Document
                                                  Pg 1 of 12


     Robert J. Feinstein, Esq.
     Bradford J. Sandler, Esq.
     PACHULSKI STANG ZIEHL & JONES LLP
     780 Third Avenue, 34th Floor
     New York, NY 10017
     Telephone: (212) 561-7700
     Facsimile: (212) 561-7777

     Counsel to the Official Committee of Unsecured Creditors


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                          )
     In re:                                                               )   Chapter 11
                                                                          )
     BARNEYS NEW YORK, INC., et al.,1                                     )   Case No. 19-36300 (CGM)
                                                                          )
                                       Debtors.                           )   (Jointly Administered)
                                                                          )

       LIMITED OBJECTION AND RESERVATION OF RIGHTS OF THE OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS TO DEBTORS’ MOTION FOR ENTRY
         OF AN ORDER APPROVING (I) THE ADEQUACY OF THE DISCLOSURE
     STATEMENT; (II) SOLICITATION AND NOTICE PROCEDURES; (III) THE FORMS
     OF BALLOTS AND NOTICES IN CONNECTION THEREWITH; AND (IV) CERTAIN
                         DATES WITH RESPECT THERETO

              The Official Committee of Unsecured Creditors (the “Committee”) of Barneys New

 York, Inc., et al., the above-captioned debtors and debtors in possession (the “Debtors”), hereby

 files this limited objection and reservation of rights (this “Limited Objection”) to the Debtors’

 Motion for Entry of an Order Approving (I) the Adequacy of the Disclosure Statement; (II)

 Solicitation and Notice Procedures; (III) the Forms of Ballots and Notices in Connection

 Therewith; and (IV) Certain Dates with Respect Thereto [Docket No. 529] (the “DS Motion”)




 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
 Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
 Fifth Avenue, New York, New York 10017.


 DOCS_DE:226904.1 07982/002
19-36300-cgm         Doc 593       Filed 12/16/19 Entered 12/16/19 11:35:57                     Main Document
                                                Pg 2 of 12


 and the Disclosure Statement for the Joint Chapter 11 Plan of Barneys New York, Inc. and Its

 Debtor Affiliates [Docket No. 528], as revised pursuant to the Notice of Filing Revised

 Disclosure Statement for the Joint Chapter 11 Plan of Barneys New York, Inc. and Its Debtor

 Affiliates [Docket No. 579] (the “Disclosure Statement”).2 In support of this Limited Objection,

 the Committee respectfully states as follows:

                                               BACKGROUND

          1.      On August 6, 2019 (the “Petition Date”), each of the Debtors filed a voluntary

 petition with this Court under chapter 11 of the Bankruptcy Code. The Debtors are operating

 their businesses and managing their properties as debtors in possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in these

 cases.

          2.      On August 15, 2019, the Office of the United States Trustee appointed the

 Committee pursuant to section 1102 of the Bankruptcy Code [Docket No. 131]. The Committee

 consists of the following seven (7) members: (i) Simon Property Group, L.P., (ii) Flagship 660

 Owner LLC & Flagship Partners II LLC, (iii) PRADA USA Corp., (iv) New York-New Jersey

 Regional Joint Board, affiliated with Workers United, (v) Hilldun Corporation, (vi) Chloe, a

 division of Richemont North America, Inc., and (vii) CSS Building Services.

          3.      The Committee is actively engaged in discussions with the Debtors regarding the

 Committee’s substantial concerns with and objections to the Disclosure Statement and the DS

 Motion. Through these discussions, the Debtors and the Committee are working towards a

 resolution that will provide for a consensual Plan process and resolve all of the Committee’s




 2
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Disclosure
 Statement.


 DOCS_DE:226904.1 07982/002
19-36300-cgm         Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57            Main Document
                                            Pg 3 of 12


 objections to the Disclosure Statement and DS Motion. To date, however, no final agreement

 has been reached between the Debtors and the Committee.


                                  RESERVATION OF RIGHTS

         4.       As noted above, the Committee continues to work towards a consensual

 resolution of its objections to the DS Motion and Disclosure Statement with the Debtors.

 However, out of an abundance of caution, the Committee files this Limited Objection to reserve

 all rights to raise issues and objections at or prior to the hearing on the DS Motion and approval

 of the Disclosure Statement, including but not limited to object to the DS Motion, Solicitation

 Procedures, or Disclosure Statement.

  Dated: December 16, 2019                      PACHULSKI STANG ZIEHL & JONES LLP

                                                 /s/ Robert J. Feinstein
                                                Robert J. Feinstein, Esq.
                                                Bradford J. Sandler, Esq.
                                                780 Third Avenue, 34th Floor
                                                New York, NY 10017
                                                Telephone: (212) 561-7700
                                                Facsimile: (212) 561-7777

                                                Counsel to the Official Committee of Unsecured
                                                Creditors




 DOCS_DE:226904.1 07982/002
19-36300-cgm            Doc 593       Filed 12/16/19 Entered 12/16/19 11:35:57                     Main Document
                                                   Pg 4 of 12


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                          )
     In re:                                                               )    Chapter 11
                                                                          )
     BARNEYS NEW YORK, INC., et al.,1                                     )    Case No. 19-36300 (CGM)
                                                                          )
                                        Debtors.                          )    (Jointly Administered)
                                                                          )

                                          CERTIFICATE OF SERVICE


      STATE OF NEW YORK                           )
                                                  )
      COUNTY OF NEW YORK                          )


              I, La Asia S. Canty, am over the age of eighteen years, am employed by Pachulski Stang

 Ziehl & Jones LLP. I am not a party to the within action; my business address is 780 Third

 Avenue, 34th Floor, New York, New York 10017-2024.

              On December 16, 2019, I caused to be served a true and correct copy of the Limited

 Objection and Reservation of Rights of the Official Committee of Unsecured Creditors to

 Debtors’ Motion for Entry of an Order Approving (I) The Adequacy of the Disclosure Statement;

 (II) Solicitation and Notice Procedures; (III) The Forms of Ballots and Notices in Connection

 Therewith; and (IV) Certain Dates with Respect Thereto to be served via electronic mail upon

 the parties set forth on the service list annexed hereto as Exhibit 1 and via First Class US Mail

 upon the parties set forth on the service list annexed hereto as Exhibit 2.




 1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Barneys New York, Inc. (1818); Barney’s Inc. (2980); BNY Catering, Inc. (4434); BNY
      Licensing Corp. (4177); and Barneys Asia Co. LLC (0819). The location of the Debtors’ service address is 575
      Fifth Avenue, New York, New York 10017.
19-36300-cgm         Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57          Main Document
                                            Pg 5 of 12



         I declare under penalty of perjury, under the laws of the State of New York and the

 United States of America that the foregoing is true and correct.

         Executed on December 16, 2019 at New York, New York.


                                                      /s/ La Asia S. Canty
                                                      La Asia S. Canty




 DOCS_DE:226904.1 07982/002
   19-36300-cgm       Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57    Main Document
                                             Pg 6 of 12


                                              EXHIBIT 1

    Service by E-Mail



            NAME                       NOTICE NAME                           EMAIL
1-15 EAST OAK STREET, LLC,
C/O THOR EQUITIES               ATTN: LEGAL                   JXENITELIS@THOREQUITIES.COM
194 ATLANTIC LLC                ATTN: JEFFREY C. CHANCAS      JCHANCAS@BORAHGOLDSTEIN.COM
ADAM L. ROSEN PLLC              ATTN.: ADAM L. ROSEN          ADAM.ROSEN@ALRCOUNSEL.COM
ALASKA OFFICE OF THE
ATTORNEY GENERAL                                              ATTORNEY.GENERAL@ALASKA.GOV
ALBATRANS, INC AND SAVINO
DEL BENE USA                    ATTN: TRACY L. KLESTADT       TKLESTADT@KLESTADT.COM
ALLEN ISD                       ATTN: ELIZABETH WELLER        DALLAS.BANKRUPTCY@PUBLICANS.COM
ARKANSA SOFFICE OF THE
ATTORNEY GENERAL                                              OAG@ARKANSASAG.GOV
                                ATTN: C. NICOLE GLADDEN
AT&T SERVICES, INC.             MATHEWS                       GN235Y@ATT.COM
AZZEDINE ALAIA                  ATTN: LEGAL                   PATRICIA.CARRY@ALAIA.FR
AZZEDINE ALAIA SAS AND
CHLOE, A DIVISION OF
RICHEMONT NORTH AMERICA,
INC                             ATTN: JOSHUA LIPMAN           JOSHUA.LIPMAN@RICHEMONT.COM
AZZEDINE ALAIA SAS AND
CHLOE, A DIVISION OF
RICHEMONT NORTH AMERICA,        ATTN: LORENZO MARINUZZI &     LMARINUZZI@MOFO.COM;
INC                             ERICA J RICHARDS              ERICHARDS@MOFO.COM
                                C/O GOLENBOCK EISEMAN         JFLAXER@GOLENBOCK.COM;
BAL HARBOUR SHOPS, LLC          ASSOR BELL & PESKOE LLP       MWEINSTEIN@GOLENBOCK.COM
BALENCIAGA AMERICA, INC.        ATTN: LEGAL                   DANIEL.BYRNES@KERING.COM
BALLARD SPAHR LLP               ATTN: DUSTIN P. BRANCH        BRANCHD@BALLARDSPAHR.COM
BARTON LLP                      ATTN.: ERIC W. SLEEPER, ESQ   ESLEEPER@BARTONESQ.COM
BRF FINANCE CO., LLC,
BRIGADE CAPITAL                 ATTN: SIDNEY P. LEVINSON,     SLEVINSON@JONESDAY.COM;
MANAGEMENT, LP, AND GACP        MICHAEL C. SCHNEIDEREIT,      MSCHNEIDEREIT@JONESDAY.COM;
FINANCE CO., LLC                AND JEREMY D. EVANS           JDEVANS@JONESDAY.COM
BROOKFIELD PROPERTY REIT
INC., AS AGENT                  ATTN: KRISTEN N. PATE         BK@BROOKFIELDPROPERTYRETAIL.COM
BUCHALTER, A PROFESSIONAL       ATTN: SHAWN M.
CORPORATION                     CHRISTIANSON                  SCHRISTIANSON@BUCHALTER.COM
BURBERRY (WHOLESALE)
LIMITED                         ATTN: DEREK J. FAMULARI       DEREK.FAMULARI@BURBERRY.COM
BURBERRY (WHOLESALE)            ATTN: MALANI J.
LIMITED                         CADEMARTORI                   MCADEMARTORI@SHEPPARDMULLIN.COM
CANADA GOOSE US, INC.           ATTN: LEGAL                   CRENFREY@CANADAGOOSE.COM
CELINE INC.                     ATTN: LEGAL                   LUC.FERRIERE@LVMHFASHION.COM
CHANEL                          ATTN: LEGAL                   KAREN.ALBRECHT@CHANELUSA.COM
CHLOÉ INC.                      ATTN: LEGAL                   CLEMENCE.ASARIA@CHLOE.COM
   19-36300-cgm         Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57   Main Document
                                               Pg 7 of 12



           NAME                          NOTICE NAME                          EMAIL
CHLOE, A DIVISION OF
RICHEMONT NORTH AMERICA,
INC                               ATTN: ALEXA GEOVANOS         ALEXA.GEOVANOS@CHLOE.COM
CHLOE, A DIVISION OF
RICHEMONT NORTH AMERICA,
INC                               ATTN: JOSHUA LIPMAN          JOSHUA.LIPMAN@RICHEMONT.COM
CHOATE, HALL & STEWART            ATTN: KEVIN J. SMARD &       MSILVA@CHOATE.COM;
LLP                               MARK SILVA                   KSIMARD@CHOATE.COM
CL US DISTRIBUTION
CORPORATION                       ATTN: DAVID M. BANKER        DBANKER@MMWR.COM
CL US DISTRIBUTION
CORPORATION                       ATTN: LEGAL                  J.JIANG@US.CHRISTIANLOUBOUTIN.COM
                                  ATTN: RICHARD M. SELTZER,    RSELTZER@CWSNY.COM
                                  MELISSA S. WOODS, AND        MWOODS@CWSNY.COM
COHEN, WEISS AND SIMON LLP        THOMAS M. KENNEDY            TKENNEDY@CWSNY.COM
                                  ATTN: JAMES H. HAITHCOCK,
COMENITY CAPITAL BANK             III                          JHAITHCOCK@BURR.COM
                                  ATTN: RICHARD A. ROBINSON    RRROBINSON@BURR.COM;
COMENITY CAPITAL BANK             AND J. CORY FALGOWSKI        JFALGOWSKI@BURR.COM
CONNECTICUT OFFICE OF THE
ATTORNEY GENERAL                                               ATTORNEY.GENERAL@CT.GOV
CP FASHION GROUP, INC             ATTN: FRANCESCO DI PIETRO    FDIPIETRO@MOSESSINGER.COM
                                  ATTN: DAVID H. STEIN AND     DSTEIN@WILENTZ.COM;
CSS BUILDING SERVICES             MEREDITH I. FRIEDMAN         MFRIEDMAN@WILENTZ.COM
CSS BUILDING SERVICES             ATTN: VIC TARTARA, COO       VTARTARA@CSSBUILDINGSERVICES.COM
DAVID PIRROTTA
DISTRIBUTION, INC                 ATTN: ROSENDO GONZALEZ       ROSSGONZALEZ@GONZALEZPLC.COM
                                  ATTN: SIDNEY P. LEVINSON     SLEVINSON@DEBEVOISE.COM
DEBEVOISE & PLIMPTON LLP          AND DANIEL E. STROIK         DESTROIK@DEBEVOISE.COM
DELAWARE DEPARTMENT OF
JUSTICE                                                        ATTORNEY.GENERAL@DELAWARE.GOV
ETOILLE 660 MADISON LLC           ATTN: LEGAL                  TEDH@JSRELLC.COM
FAEGRE BAKER DANIELS LLP          ATTN.: GEORGE R. MESIRES     GEORGE.MESIRES@FAEGREBD.COM
                                  ATTN.: VERONIQUE A. URBAN    VURBAN@FARRELLFRITZ.COM
FARRELL FRITZ, P.C                PATRICK COLLINS              PCOLLINS@FARRELLFRITZ.COM
FEDEX                             ATTN: LEGAL                  CHRISTIE.BURNS@FEDEX.COM
FLAGSHIP 660 OWNER, LLC
AND FLAGSHIP PARTNERS II,
LLC                               ATTN: ROBERT CAYRE           BOBC@CAYRE.COM
FLAGSHIP 660 OWNER, LLC           ATTN: PAUL M. BASTA, JACOB   PBASTA@PAULWEISS.COM;
AND FLAGSHIP PARTNERS II,         A. ADLERSTEIN, AND SAMUEL    JADLERSTEIN@PAULWEISS.COM;
LLC                               E. LOVETT                    SLOVETT@PAULWEISS.COM
                                  ATTN.: KATHLEEN M. AIELLO    KAIELLO@FOXROTHSCHILD.COM
FOX ROTHSCHILD LLP                BRIAN L. SHAW                BSHAW@FOXROTHSCHILD.COM
FOX SWIBEL LEVIN &                ATTN.: SUJ M. PANDYA         SPANDYA@FOXSWIBEL.COM
CARROLL LLP                       MARGARET M. ANDERSON         PANDERSON@FOXSWIBEL.COM
                                                               VERONICA.NANNI@GGR-
GGR US LLC                        ATTN: LEGAL                  DISTRIBUTION.COM
                                  ATTN: CATHERINE E.
GGR US, LLC                       YOUNGMAN                     CYOUNGMAN@FOXROTHSCHILD.COM
GGR US, LLC                       ATTN: LEONARD BUDOW          LBUDOW@FOXROTHSCHILD.COM


    DOCS_DE:226904.1 07982/002
   19-36300-cgm         Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57     Main Document
                                               Pg 8 of 12



           NAME                          NOTICE NAME                            EMAIL
GIVENCHY
CORPORATION/LVMH                  ATTN: LEGAL                    LUC.FERRIERE@LVMHFASHION.COM
GOLENBOCK EISEMAN ASSOR           ATTN: JONATHAN L. FLAXER       JFLAXER@GOLENBOCK.COM
BELL & PESKOE LLP                 AND MICHAEL S. WEINSTEIN       MWEINSTEIN@GOLENBOCK.COM
GONZALEZ & GONZALEZ LAW,          ATTN: ROSENDO GONZALEZ         ROSSAONZALEZQAONZALEZPLC.COM
P.C.                              AND ZACHARY I. GONZALEZ        ZIA@AONZALEZPLC.COM
GOOGLE INC.                       ATTN: LEGAL                    JO.KERI@GOOGLE.COM
GOOGLE INC.                       ATTN: LEGAL                    JO.KERI@GOOGLE.COM
GRAFICHE MILANI S.P.A.            ATTN: DOUGLAS J. PICK          DPICK@PICKLAW.NET
GRIFFIN HAMERSKY LLP              ATTN: MICHAEL D. HAMERSKY      MHAMERSKY@GRIFFLEGAL.COM
GUCCI                             ATTN: LEGAL                    DANIEL.BYRNES@KERING.COM
                                  ATTN: DOUGLAS B. ROSNER
                                  AND                            DROSNER@GOULSTONSTORRS.COM
GOULSTON & STORRS PC              TREVOR HOFFMANN                THOFFMAN@GOULSTONSTORRS.COM
HANSON BRIDGETT LLP               ATTN.: NANCY J. NEWMAN         NNEWMAN@HANSONBRIDGETT.COM
                                  ATTN: BRUCE S. NATHAN AND      BNATHAN@LOWENSTEIN.COM;
HILLDUN CORPORATION               MYLES R. MACDONALD             MMACDONALD@LOWENSTEIN.COM
HILLDUN CORPORATION               ATTN: GARY WASSNER             GARY@HILLDUN.COM
HUGHES HUBBARD & REED             ATTN.: CHRISTOPHER
LLP                               GARTMAN, ESQ.                  CHRIS.GARTMAN@HUGHESHUBBARD.COM
HUNZIKER, JONES & SWEENEY,
P.A.                              ATTN: MICHAEL J. SWEENEY       MSWEENEY@HJSLAWOFFICE.COM
INTERNATIONAL BUSINESS            ATTN: RODRIGO ALONSO
MACHINES                          RODRIGUEZ GONZALEZ             ALONSORG@MX1.IBM.COM
ISABEL MARANT                     ATTN: ADAM L. ROSEN            ADAM.ROSEN@ALRCOUNSEL.COM
ISAIA CORP                        ATTN: LEGAL                    ANTHONY.BOZZI@ISAIA.IT
JENEL MANAGEMENT                  ATTN: JACK DUSHEY              JD@JENEL.NET
                                                                 KDWBANKRUPTCYDEPARTMENT@KELLEYD
                                  ATTN: ROBERT L. LEHANE AND     RYE.COM; RLEHANE@KELLEYDRYE.COM;
KELLEY DRYE & WARREN LLP          MAEGHAN J. MCLOUGHLIN          MMCLOUGHLIN@KELLEYDRYE.COM
KERING AMERICAS, INC.             ATTN: GILBERT R. SAYDAH, JR.   GSAYDAH@MMWR.COM
LAW OFFICE OF GILBERT A.
LAZARUS, PLLC                     ATTN: GILBERT A. LAZARUS       GILLAZARUS@GMAIL.COM
LITTLER MENDELSON P.C.            ATTN: KAROL K. DENNISTON       KAROL.DENNISTON@SQUIREPB.COM
LITTLER MENDELSON P.C.            ATTN: TRAVIS A. MCROBERTS      TRAVIS.MCROBERTS@SQUIREPB.COM
LOCKE LORD LLP                    ATTN: CASEY B. HOWARD          CHOWARD@LOCKELORD.COM
LOEWE LLC                         ATTN: LEGAL                    LUC.FERRIERE@LVMHFASHION.COM
LVMH MOET HENNESSY LOUIS
VUITTON INC., AND EACH OF         ATTN: SETH H. LIEBERMAN        SLIEBERMAN@PRYORCASHMAN.COM;
ITS AFFILIATED BRANDS             AND MATTHEW W. SILVERMAN       MSILVERMAN@PRYORCASHMAN.COM
MANOLO BLAHNIK USA, LTD           ATTN: LEGAL                    TONY@MANOLOBLAHNIKUSA.COM
MANZANITA US GP LLC AND
ITS ADVISOR MANZANITA
CAPITAL UK LLP, ON BEHALF
OF DIPTYQUE DISTRIBUTION
USA LLC, BYREDO US INC.,          ATTN: STEPHANIE WICKOUSKI      STEPHANIE.WICKOUSKI@BCLPLAW.COM;
SPACE BRANDS USA LLC,             AND LAITH HAMDAN               LAITH.HAMDAN@BCLPLAW.COM



    DOCS_DE:226904.1 07982/002
   19-36300-cgm         Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57      Main Document
                                               Pg 9 of 12



          NAME                           NOTICE NAME                            EMAIL
KEVYN AUCOIN BEAUTY INC.,
AND MALIN + GOETZ INC.
MARGIELA USA, INC                 ATTN: HARLAN M. LAZARUS         HLAZARUS@LAZARUSANDLAZARUS.COM
                                                                  KENNY_KALIPERSHAD@STAFFINTERNATIO
MARGIELA USA, INC                 ATTN: LEGAL                     NAL.COM
MARYLAND OFFICE OF THE
ATTORNEY GENERAL                                                  OAG@OAG.STATE.MD.US
MCCUE SUSSMANE ZAPFEL &
COHEN P.C.                        ATTN: KENNETH SUSSMANE          KSUSSMANE@MSZPC.COM
                                  ATTN.: CHRISTOPHER J. MAJOR,
                                  ESQ.                            CJM@MSF-LAW.COM
MEISTER SEELIG & FEIN LLP         JAMES M. RINGER, ESQ.           JMR@MSF-LAW.COM
MICHIGAN DEPARTMENT OF
THE ATTORNEY GENERAL                                              MIAG@MICHIGAN.GOV
MINNESOTA OFFICE OF THE
ATTORNEY GENERAL                  445 MINNESOTA ST                ATTORNEY.GENERAL@AG.STATE.MN.US
MINTZ, LEVIN, COHN, FERRIS,       ATTN.: KAITLIN R. WALSH, ESQ.   KRWALSH@MINTZ.COM
GLOVSKY AND POPEO, P.C.           ANDREW LEVIN, ESQ.              ABLEVIN@MINTZ.COM
                                  ATTN: JOSEPH T. MOLDOVAN
MONCLER USA, INC                  AND DAVID J. KOZLOWSKI          BANKRUPTCY@MORRISONCOHEN.COM
                                  ATTN: A/R & CREDIT DPT,         VALENTINA.PRETTO@MONCLER.COM;
MONCLER USA, INC                  KRESO MIKUS                     KRESO.MIKUS@MONCLER.US
                                  ATTN: LORENZO MARINUZZI         LMARINUZZI@MOFO.COM
MORRISON & FOERSTER LLP           AND ERICA J. RICHARDS           ERICHARDS@MOFO.COM
MPH PACIFIC PLACE, LLC            ATTN: DOUGLAS J. PICK           DPICK@PICKLAW.NET
NEW YORK-NEW JERSEY
REGIONAL JOINT BOARD,
AFFILIATED WITH WORKERS           ATTN: FRED KAPLAN,
UNITED                            SECRETARY-TREASURER             FKAPLAN@WORKERSUNITEDNYNJ.ORG
NORTH DAKOTA OFFICE OF            STATE CAPITOL, 600 E
THE ATTORNEY GENERAL              BOULEVARD AVE                   NDAG@ND.GOV

                                                                  DAVID.ROSENZWEIG@NORTONROSEFULBRI
                                                                  GHT.COM
NORTON ROSE FULBRIGHT US          ATTN: DAVID A. ROSENZWEIG       FRANCISCO.VAZQUEZ@NORTONROSEFULB
LLP                               AND FRANCISCO VAZQUEZ           RIGHT.COM
OFFICE OF THE ATTORNEY
GENERAL OF THE DISTRICT OF
COLUMBIA                          441 4TH ST NW                   OAG@DC.GOV
OFFICE OF THE UNITED              ATTN: ALICIA LEONHARD AND
STATES TRUSTEE                    LISA M. PENPRAZE                ALICIA.M.LEONHARD@USDOJ.GOV
OWENSCORP ITALIA S.P.A.           ATTN: LEGAL                     LUCA.RUGGERI@OWENSCORP.COM
PITNEY BOWES, INC AND
BORDERFREE, INC                   ATTN: EDWARD J. LOBELLO         ELOBELLO@MSEK.COM
PRADA                             ATTN: LEGAL                     AIMEE.NSANG@PRADA.COM
PRADA                             ATTN: LEGAL                     AIMEE.NSANG@PRADA.COM
                                  ATTN: DAVID R. WARREN,
PRADA USA CORP                    VP/GENERAL COUNSEL              DAVID.WARREN@PRADA.COM
RAG & BONE                        ATTN: LEGAL                     CREDIT@RAG-BONE.COM
RAKUTEN MARKETING
FORMERLY LINKSHARE CORP.          ATTN: LEGAL                     SHANNON.LE@RAKUTEN.COM


    DOCS_DE:226904.1 07982/002
   19-36300-cgm         Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57    Main Document
                                               Pg 10 of 12



         NAME                            NOTICE NAME                          EMAIL
RAKUTEN MARKETING
FORMERLY LINKSHARE CORP.          ATTN: LEGAL                   SHANNON.LE@RAKUTEN.COM
                                  ATTN: CHRIS DICKERSON AND     CHRISDICKERSON@PAULHASTINGS.COM;
RETAIL FUNDING (BNY), LLC         BRENDAN M. GAGE               BRENDANGAGE@PAULHASTINGS.COM
                                  ATTN: MICHAEL E.              MICHAELCOMERFORD@PAULHASTINGS.CO
RETAIL FUNDING (BNY), LLC         COMERFORD                     M
RHE CONTAINER COMPANY,
INC                               ATTN: MICHAEL J. SWEENEY      MSWEENEY@HJSLAWOFFICE.COM
RIEMER & BRAUNSTEIN LLP           ATTN: DONALD E. ROTHMAN       DROTHMAN@RIEMERLAW.COM
RIEMER & BRAUNSTEIN LLP           ATTN: STEVEN E. FOX           SFOX@RIEMERLAW.COM
SABBADINI S.R.L.                  ATTN: JAMES B. GLUCKSMAN      JBGLUCKSMAN@RATTETLAW.COM
SABBADINI S.R.L.                  ATTN: ROBERT L. RATTET        RRATTET@RATTETLAW.COM
SCHULTE ROTH & ZABEL LLP          ATTN: ADAM C. HARRIS          ADAM.HARRIS@SRZ.COM
SESSIONM, INC                     ATTN: EVELYN J. MELTZER       MELTZERE@PEPPERLAW.COM
SHEPPARD MULLIN RICHTER &         ATTN: MALANI J.
HAMPTON, LLP                      CADEMARTORI                   MCADEMARTORI@SHEPPARDMULLIN.COM
SHISEIDO COSMETICS                ATTN: LEGAL                   JCOHEN@SAC.SHISEIDO.COM
SIMON PROPERTY GROUP, LP          ATTN: RONALD M. TUCKER        RTUCKER@SIMON.COM
                                  ATTN: BRIAN TRUST, JOAQUIN    BTRUST@MAYERBROWN.COM;
STOCKTON STREET                   M. C DE BACA, AND YOUMI       JCDEBACA@MAYERBROWN.COM;
PROPERTIES                        KIM                           YKIM@MAYERBROWN.COM
STOCKTON STREET                                                 LORI.COLEMAN@MADISONMARQUETTE.CO
PROPERTIES, INC.                  ATTN: LORI COLEMAN            M
THE BUILDING AT 575 FIFTH
OFFICE OWNER LLC                  ATTN: DOUGLAS B. ROSNER       DROSNER@GOULSTONSTORRS.COM
THE BUILDING AT 575 FIFTH
OFFICE OWNER LLC                  ATTN: LEGAL                   MATTP@575FIFTH.COM
THE BUILDING AT 575 FIFTH
OFFICE OWNER LLC                  ATTN: TREVOR R. HOFFMANN      THOFFMANN@GOULSTONSTORRS.COM
THE MACERICH COMPANY              ATTN: DUSTIN P. BRANCH        BRANCHD@BALLARDSPAHR.COM
THE ROW LLC                       ATTN: LEGAL                   JAN.KAPLAN@THEROW.COM
THOR ASB 1-15 EAST OAK
STREET, LLC                       ATTN: JAMILA JUSTINE WILLIS   JAMILA.WILLIS@DLAPIPER.COM
THOR ASB 1-15 EAST OAK            ATTN: RICHARD M. KREMEN       RICHARD.KREMEN@DLAPIPER.COM;
STREET, LLC                       AND KRISTY N. GRACE           KRISTY.GRACE@DLAPIPER.COM
                                  ATTN: ADAM C. HARRIS,         ADAM.HARRIS@SRZ.COM;
                                  KRISTINE G. MANOUKIAN AND     KRISTINE.MANOUKIAN@SRZ.COM;
TPG SPECIALTY LENDING, INC        KELLY V. KNIGHT               KELLY.KNIGHT@SRZ.COM
TR APPAREL, LLC DBA THE           ATTN: MALANI J.
ROW                               CADEMARTORI                   MCADEMARTORI@SHEPPARDMULLIN.COM
TRIBECA DESIGN STUDIO LLC         ATTN: LEGAL                   SHIRA@NILILOTAN.COM
UTAH OFFICE OF THE                UTAH STATE CAPITOL
ATTORNEY GENERAL                  COMPLEX                       UAG@AGUTAH.GOV
                                  ATTN.: ANTHONY J. NOVELLA,
                                  ESQ.                          ANOVELLA@ALMAREALTY.COM
VALOTIS & NOVELLA PLLC            KATIE L. BIRELEY, ESQ.        KBIRELEY@ALMAREALTY.COM
VERMONT ATTORNEY
GENERAL'S OFFICE                                                AGO.INFO@VERMONT.GOV




    DOCS_DE:226904.1 07982/002
  19-36300-cgm          Doc 593   Filed 12/16/19 Entered 12/16/19 11:35:57   Main Document
                                               Pg 11 of 12



           NAME                          NOTICE NAME                         EMAIL
WELLS FARGO BANK,
NATIONAL ASSOCIATION              ATTN: DONALD E. ROTHMAN     DROTHMAN@RIEMERLAW.COM
WELLS FARGO BANK,                 ATTN: KEVIN J. SIMARD AND   KSIMARD@CHOATE.COM;
NATIONAL ASSOCIATION              JONATHAN D. MARSHALL        JMARSHALL@CHOATE.COM
WELLS FARGO BANK,
NATIONAL ASSOCIATION              ATTN: STEVEN E. FOX         SFOX@RIEMERLAW.COM
YVES SAINT LAURENT
AMERICA, INC.                     ATTN: LEGAL                 DANIEL.BYRNES@KERING.COM




    DOCS_DE:226904.1 07982/002
19-36300-cgm      Doc 593     Filed 12/16/19 Entered 12/16/19 11:35:57   Main Document
                                           Pg 12 of 12
                                          EXHIBIT 2

Service by First Class U.S. Mail

 OFFICE OF THE U.S. TRUSTEE                      STOCKTON STREET PROPERTIES, INC.
 ATTN: ALICIA LEONHARD                           ATTN: DAVID BRAINERD
 11A CLINTON AVENUE, ROOM 620                    MPH PACIFIC PLACE LLC
 ALBANY, NEW YORK 12207                          600 PINE STREET, SUITE 228
                                                 SEATTLE, WA 98101


 GGR US LLC                                      STOCKTON STREET PROPERTIES, INC.
 ATTN: LEGAL DEPT. 3486                          ATTN: LEGAL
 24 E 64TH ST                                    PO BOX 847130
 NEW YORK, NY 10065                              DALLAS, TX 75284-7130



 THE BUILDING AT 575 FIFTH OFFICE OWNER          CANADA GOOSE US, INC.
 LLC                                             ATTN: LEGAL
 ATTN: LEGAL                                     250 BOWIE AVE
 C/O BEACON CAPITAL PARTNERS                     TORONTO ON M6E 4Y2
 200 STATE STREET, 5TH FLOOR                     CANADA
 BOSTON, MA 02109

 LOEWE LLC                                       THE BUILDING AT 575 FIFTH OFFICE OWNER LLC
 ATTN: LEGAL                                     ATTN: LEGAL
 33127 COLLECTION CENTER DRIVE                   1209 ORANGE STREET
 CHICAGO, IL 60693-0331                          WILMINGTON, DE 19801



 CHLOE                                           CITY OF NEW YORK
 ATTN: LEGAL                                     C/O ZACHARY W. CARTER, CORPORATION
 DIVISION OF RICHEMONT NORTH AMERICA             COUNSEL OF THE CITY OF NEW YORK
 PO BOX 417988                                   ATTN: BERNADETTE BRENNAN
 BOSTON, MA 02241-7988                           100 CHURCH STREET
                                                 NEW YORK, NY 10007
 SHISEIDO COSMETICS                              GIVENCHY CORPORATION/LVMH
 ATTN: LEGAL                                     ATTN: LEGAL
 PO BOX 7247-8480                                19 EAST 57TH STREET
 PHILADELPHIA, PA 19170-8480                     NEW YORK, NY 10022



 INTERNAL REVENUE SERVICE
 PO BOX 7346
 PHILADELPHIA, PA 19101-7346
